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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


PAUL CLEMENTS, et al.,

                Plaintiffs,
                                                               CASE NO. 1:18-CV-655
v.
                                                               HON. ROBERT J. JONKER
RUTH JOHNSON, et al.,

                Defendants.
                                    /


                                              ORDER

         The second motion for an extended page limit cites correctly to Western District Local Rules.

However, it does not include the certification required by Local Rule 7.1(d). The Court will not

consider the defense motion before Defendants file the required certification.



Dated:        June 21, 2018                    /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
